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     TONI H. WHITE (SBN 210119)
 1   ATTORNEY AT LAW
 2
     P.O. BOX 1081
     El Dorado, CA. 95623
 3   (530) 885-6244
 4
     Attorney for Defendant
 5
     LAURA PEZZI
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                        ) No. 2:15-CR-00190 MCE
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                                                      )
                                                      )
10          Plaintiff,                                )
                                                      )
11
     v.                                               ) ORDER
                                                      ) SEALING ATTACHMENT
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     Dichiara et al.                                  )
                                                      )
13
                                                      )
            Defendants.                               )
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                                                      )
                                                      )
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                                                      )
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17          Pursuant to Local Rule 141(b), and based upon the representation contained in the
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     Request to Seal filed by defendant Laura Pezzi, IT IS HEREBY ORDERED that the attachment
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     to Defendant’s Reply to Response to Motion to Reduce Sentence filed as ECF DOC Number 609
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     shall be SEALED until further order of this Court.
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22          The Court has considered the factors set forth in Oregonian Publishing Co. v. U.S.

23   District Court for the District of Oregon, 920 F.2d 1462 (9th Cir. 1990). The Court finds that,
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     for the reasons stated in the Defendant’s Request, sealing the attachment to Defendant’s Reply to
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     Response to Motion to Reduce Sentence serves a compelling interest. The Court further finds
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     that, in the absence of closure, the compelling interests identified by the government would be

28   harmed. In light of the public filing of its Notice to Seal, the Court further finds that there are no

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              Case 2:15-cr-00190-KJM Document 611 Filed 09/29/20 Page 2 of 2


     additional alternatives to sealing Defendant’s attachment that would adequately protect the
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 2   compelling interests identified by the government.

 3          IT IS SO ORDERED.
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     Dated: September 29, 2020
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